Ca9A1:21.-01-00080-AMD Document 31-3 Filed 03/16/22 Page 1 of 21 PagelD #: 193

Calendar No. 411

| REPORT

SENATE

110-191

110TH CONGRESS
1st Session

DECEPTIVE PRACTICES AND VOTER INTIMIDATION
PREVENTION ACT OF 2007

OCTOBER 4, 2007.—Ordered to be printed

Mr. LEAHY, from the Committee on the Judiciary,
submitted the following

REPORT

together with

ADDITIONAL VIEWS

[To accompany S. 453]

The Committee on the Judiciary, to which was referred the bill
(S. 453) to prohibit deceptive practices in Federal elections, having
considered the same, reports favorably thereon with amendment
and recommends that the bill do pass.

CONTENTS

Page

I. Background and Purpose of the Deceptive Practices and Voter Intimida-
tion Prevention Act of 2007 ...ccccccccsescsssssceccecsesesececssessesesscescseessenssccatsas 1
II. History of the Bill and Committee Consideration 3
III. Section-by-Section Summary of the Bill... .ccccceseeseeeeteseeees 8
IV. Cost Estimate 2.0... cccceccccsessesesseesseeseeseees 13
V. Regulatory Impact Evaluation 15
VI. Conclusion oo... ecccseccsesceesseecsescesscsnessssseuasasscaesesesescsescaeseseassecacssessseeacseatseees 15

VII. Additional Views of Senators Kyl, Graham, Cornyn, and Brownback 16
VIII. Changes to Existing Law Made by the Bill, as Reported ..........0ccccccccee 19

I. BACKGROUND AND PURPOSE OF THE DECEPTIVE PRACTICES AND
VOTER INTIMIDATION PREVENTION ACT OF 2007

The right to vote is a fundamental right accorded to United
States citizens, and the unimpeded exercise of this right is essen-
tial to the functioning of our democracy.

It has been 137 years since the States ratified the Fifteenth
Amendment to the United States Constitution in 1870, which pro-

69-010
Case 1:21-cr-00080-AMD Document 31-3 Filed 03/16/22 Page 2 of 21 PagelD #: 194

2

vides that “the right of citizens of the United States to vote shall
not be denied or abridged by the United States or by any State on
account of race [or] color.” The Amendment also gave Congress
power to enforce the amendment by “appropriate legislation.”

Tragically, African Americans still had to suffer through nearly
another century of discrimination at the hands of discriminatory
Jim Crow laws and regulations. During the Jim Crow era, it was
difficult, if not impossible, for African Americans to register to vote
and cast their votes due to grandfather clauses, literacy tests, poll
taxes, property requirements, harassment, violence, and other sig-
nificant barriers.

The 19th Amendment to the Constitution was ratified in 1920,
prohibiting the denial of the right to vote on the basis of sex. In
1964, the 24th Amendment to the Constitution was ratified, pro-
hibiting the use of a poll tax or any other tax to deny a citizen the
right to vote. In 1965, Congress enacted the Voting Rights Act,
which was designed to once and for all prohibit discrimination
against voters on the basis of race or color. In 1971, the 26th
amendment to the Constitution was ratified, prohibiting the denial
of the right to vote to anyone 18 years or older simply because of
their age. In 2006, Congress reauthorized the Voting Rights Act for
another 25 years and rejected efforts to weaken this historic law.

Despite the constitutional and statutory protections provided, de-
ceptive practices are still used today to keep citizens away from the
polls. Deceptive practices generally focus on providing false infor-
mation regarding the time or place of an election or voting eligi-
bility requirements, in an effort to keep voters away from the ballot
box or to prevent voters from voting for the candidate of their
choice. These efforts are primarily targeted at racial minorities,
new voters, the elderly, the disabled, low-income individuals, natu-
ralized citizens, formerly-incarcerated voters, and other groups that
are disadvantaged or have historically faced discrimination.

Deceptive practices have a long history, but have received great-
er attention in recent years. For example, shortly before the 1990
midterm elections, 125,000 voters in North Carolina received post-
cards providing false information about voter eligibility and a
warning about criminal penalties for voter fraud. Ninety-seven per-
cent of the voters who received a postcard were African American.

In 2002, fliers stating that voters could cast their ballots three
days after the election “if the weather is bad” were distributed in
New Orleans public housing complexes.

In the 2004 presidential election, voters in Milwaukee received
fliers from the non-existent “Milwaukee Black Voters League,”
warning that voters risked imprisonment for voting and the loss of
custody of their children if they were ever found guilty of any of-
fense—even a traffic violation.

Also in the 2004 general election, voters in Franklin County,
Ohio, received fliers stating that due to “confusion caused by unex-
pected heavy voter registrations” Republicans should vote on Tues-
day and Democrats should vote on Wednesday. A similar deceptive
flier was distributed that year in Allegheny County, Pennsylvania,
asking Republicans to vote on Tuesday and Democrats to vote on
Wednesday, and concluding by thanking voters for “cooperating
with us in this endeavor to create a peaceful voting environment.”
Case 1:21-cr-00080-AMD Document 31-3 Filed 03/16/22 Page 3 of 21 PagelD #: 195

3

In the 2006 mid-term election, 14,000 Latino voters in Orange
County, California received mailings from the California Coalition
for Immigration Reform, warning them in Spanish that “if you are
an immigrant, voting in a federal election is a crime that can result
in incarceration”. The letter also falsely stated that the U.S. Gov-
ernment was “installing a new computer system to verify the
names of all new registered voters,” and that “(a|nti-immigration
organizations can ask for information from this new computer sys-
tem.”

Also in 2006, registered voters in Virginia received phone mes-
sages falsely warning them that the “Virginia Elections Commis-
sion” had determined that they were ineligible to vote. Similar mis-
information campaigns were reported in jurisdictions across the
country.

The same year, in Maryland, certain campaigns for Governor and
United States Senator distributed fliers in predominantly African
American neighborhoods falsely claiming that the candidates had
been endorsed by prominent figures in the community, when in fact
these prominent figures in the community had actually endorsed
the opponents of the candidates.

Congress has a compelling interest in protecting the integrity of
elections, safeguarding the right of all citizens to vote for the can-
didate of their choice, and preventing any attempts to keep voters
from exercising their right to vote. The Deceptive Practices and
Voter Intimidation Prevention Act of 2007 would prohibit and pun-
ish the practice of communicating false information regarding: the
time, place or manner of the election; the qualifications for or re-
strictions on voter eligibility for such election; or the explicit en-
dorsement by any person or organization of a candidate’s election.
The bill would prohibit and punish deceptive practices committed
with the intent to prevent a citizen from exercising the right to
vote. The bill would increase monetary and criminal penalties for
deceptive practices and voter intimidation in Federal elections. The
bill would also require the Attorney General to respond to decep-
tive practices by providing accurate information to affected voters
regarding the time and place of elections and rules on voter eligi-
bility, in an effort to counter the harm caused by deceptive prac-
tices.

II. HISTORY OF THE BILL AND COMMITTEE CONSIDERATION
A. INTRODUCTION OF THE BILL

Senator Barack Obama and Senator Charles E. Schumer intro-
duced S. 453, the Deceptive Practices and Voter Intimidation Pre-
vention Act of 2007, on January 31, 2007, joined by Senators
Leahy, Cardin, Feingold, Kerry, Feinstein, Clinton, Boxer and Ken-
nedy as original cosponsors. Since the bill’s introduction, Senators
Levin, Landrieu, Brown, Johnson, Whitehouse, McCaskill, Wyden,
Durbin and Coburn have joined as cosponsors. The bill was re-
ferred to the Committee on the Judiciary.

The House of Representatives passed companion legislation, H.R.
1281, by voice vote on June 25, 2007.
Case 1:21-cr-00080-AMD Document 31-3 Filed 03/16/22 Page 4 of 21 PagelD #: 196

4

B. HEARING ON JUNE 7, 2007

The Judiciary Committee held a hearing on June 7, 2007,
chaired by Senator Benjamin L. Cardin and entitled, “Prevention
of Deceptive Practices and Voter Intimidation in Federal Elections:
S. 453.” Senators Charles E. Schumer and Barack Obama testified
on the first panel. Testifying on the second panel were Douglas F.
Gansler, Attorney General for the State of Maryland, and Jack B.
Johnson, County Executive for Prince George’s County in the State
of Maryland. Testifying on the third panel were Hilary O. Shelton,
Director of the Washington Bureau of the National Association for
the Advancement of Colored People (NAACP); John Trasvina,
President and General Counsel of the Mexican American Legal De-
fense and Education Fund (MALDEF); Richard Briffault, Joseph
Chamberlain Professor of Legislation at the Columbia Law School;
William B. Canfield, Principal at Williams & Jensen, PLLC; and
Peter N. Kirsanow, Commissioner of the United States Commission
on Civil Rights (testifying in his personal capacity).

The hearing focused on the need for S. 453 to combat the dec-
ades-old practice of communicating intentionally false information
in an effort to disenfranchise voters and to keep voters away from
the polls. The hearing discussed some of the forms of deceptive
practices that have been seen in recent elections. In detailing some
of these newer tactics, Senator Cardin quoted, in part, a letter
dated June 4, 2007, from former United States Senator Charles
(“Mac”) Mathias, Jr.:

While the methods employed to deter voting differ today
from those in vogue years ago, the deplorable objective remains
the same: to help destroy the integrity of the election process
by suppressing participation, especially by minorities. Because
these more modern methods of coercion and intimidation do
not fall neatly within the ambit of current law, legislation
amending Section 1971(b) is needed. I believe S. 453 fills that
gap admirably.

Douglas F. Gansler, Attorney General for the State of Maryland,
strongly endorsed S. 453 and described deceptive fliers distributed
during the 2002 and 2006 Federal elections in African American
neighborhoods. In 2002, a flier showing the wrong election date and
falsely stating that parking tickets must be paid before voting was
distributed in predominantly African American areas in Baltimore
City, in an apparent effort to lower voter turnout.

Jack B. Johnson, County Executive of Prince George’s County in
Maryland, testified in support of S. 453 and described how, on the
date of the Federal election in 2006, fliers were distributed in his
County that misleadingly suggested that Mr. Johnson had en-
dorsed certain Republican candidates despite the fact that Mr.
Johnson had, in fact, endorsed those candidates’ opponents. These

same fliers falsely listed certain candidates as part of a “Demo-
cratic Sample Ballot.”

Hilary O. Shelton, Director of the Washington Bureau of the
NAACP, testified in support of the bill. He testified that:

Unfortunately, some people are still so desperate to win elec-

tions—elections that they fear they cannot rightfully win—that

they resort to deceptive practices, misinformation and lies, to

try to keep legitimate voters away from the polls or to support
Case 1:21-cr-00080-AMD Document 31-3 Filed 03/16/22 Page 5 of 21 PagelD #: 197

5

candidates whom they might not otherwise vote for. It is even
more unfortunate that these practices often target and exploit
many of the same populations that have historically been ex-
cluded from the ballot box. Specifically, vulnerable populations,
such as racial and ethnic minorities, the disabled and/or the
poor and senior citizens are often targeted by those perpet-
uating these deceptive practices. . . Yet there are still people
and organizations in our country who are so afraid of the out-
come of our democratic process that they must stoop to lies,
duplicitous behavior, and intimidation to try to keep certain
segments of our population and communities away from the
voting poll.

Mr. Shelton provided the following examples of deceptive tactics
in recent elections:

In Ingham County, Michigan, a partisan poll challenger con-
fronted every African American attempting to vote that day.
There were no reports of any Caucasian voters even being
questioned. In Orange County, California, 14,000 Latino voters
got letters in Spanish saying it was a crime for immigrants to
vote in a Federal election. It did not state or even clarify that
immigrants who are citizens have the right to vote and indeed
should. In Baltimore, Maryland, misleading fliers were placed
on cars in predominantly African American neighborhoods giv-
ing the wrong date for the upcoming election day. In Virginia,
registered voters received recorded (robotic) calls that falsely
stated that the recipient of the call was registered in another
State and would face criminal charges if they came to the polls
to vote that day. It was also in Virginia that voters received
phone calls stating that because they were such regular voters
they could vote this time by telephone, by simply pressing a
number at that time for the candidate of their choice. The call
ended by repeating that they had now voted and did not need
to go to the polls.

Mr. Shelton testified that these cases warranted a quick response
by the Federal Government to expose the lies told to voters and to
provide corrected information so voters could go to the polls in time
to have their votes counted.

John Trasvifia, President and General Counsel of MALDEF, tes-
tified in support of the bill because: “voter intimidation and decep-
tive practices present serious threats to the integrity of the Amer-
ican democratic system. . . . We have recently witnessed an in-
crease in voter suppression, intimidation and deceptive practices
aimed at Latino voters. When a community organizes and begins
to make new political gains, it often becomes subject to deliberate
attempts to halt its electoral advancement by any available means,
including the use of deceptive practices and voter intimidation.”
Mr. Trasvifia described a letter sent to approximately 14,000 Span-
ish-surname voters in Orange County, California, that provided
false information to prospective voters, including the statement
that immigrants who vote in Federal elections are committing a
crime that can result in incarceration and possible deportation.

Richard Briffault, Joseph Chamberlain Professor of Legislation
at the Columbia Law School, testified in support of the bill that
“Congress plainly has the authority to adopt laws vindicating the
integrity of federal elections and the rights of federal voters” such
Case 1:21-cr-00080-AMD Document 31-3 Filed 03/16/22 Page 6 of 21 PagelD #: 198

6

as S. 453. Professor Briffault further testified that S. 453 “is en-
tirely consistent with the First Amendment’s protection of freedom
of speech. Indeed, by protecting voters from false statements in-
tended to deceive voters or prevent voters from voting, the bill ac-
tually promotes the values of political participation and personal
autonomy that are at the heart of the First Amendment.” He testi-
fied that:

The only significant constitutional issue in the regulation of
false election communications is the requirement that the law
be narrowly tailored to avoid impinging on or chilling constitu-
tionally protected speech. S. 453 clearly satisfies the narrow
tailoring requirement. First, S. 453 is limited to the commu-
nication of falsehoods that the speaker knows to be false and
which the speaker communicates in order to prevent another
person from voting. This is actually significantly tighter than
the constitutional test for the regulation of false statements
adopted by the Supreme Court. . . . Innocent, negligent, and
even reckless mistakes are not restricted.

Second, S. 453 is limited to a very constrained set of false
statements of fact—statements dealing with the time, place, or
manner of voting; with eligibility to vote; and with explicit en-
dorsements by persons or organizations. These involve simple
statements of fact that do not remotely deal with matters of
opinion, or the issues, ideas, or political views that make up an
election campaign.

Professor Briffault’s statement for the hearing record sets out
legal arguments in support of the constitutionality of S. 453.

William B. Canfield, Principal at Williams & Jensen, PLLC, tes-
tified in opposition to the bill. Mr. Canfield stated his view that S.
453, as introduced, was overly broad and unnecessary. Mr. Canfield
also objected to the bill’s provision of a private right of action for
aggrieved individuals.

Peter N. Kirsanow, a member of the United States Commission
on Civil Rights and the National Labor Relations Board, testified
in his personal capacity. Mr. Kirsanow suggested that the Com-
mittee should expand S. 453 to cover the issues of fraudulent reg-
istration, multiple registration, and compromised absentee ballots.
During the course of the hearing, in response to a question from
Senator Orrin G. Hatch, Professor Briffault clarified that fraudu-
lent registration and fraudulent voting are already criminalized.

The People for the American Way and the People for the Amer-
ican Way Foundation submitted a statement for the record in sup-
port of the legislation. The statement elaborated on the need for
the bill:

Federal law may not currently criminalize all the deceptive
practices we saw in the 2006 elections, including disin-
formation campaigns and harassing robocalls. Such practices
try to deceive voters into changing their votes, or voting on the
wrong day, or by sending them to the wrong polling place.
Some schemes attempt to convince citizens that voting will be
difficult or even dangerous, or simply annoy them so much that
they stay home from the polls in disgust at the whole process.
Americans deserve elections that are clean and fair. We may
not be able to stop dirty tricks in campaigns, but we can make
Case 1:21-cr-00080-AMD Document 31-3 Filed 03/16/22 Page 7 of 21 PagelID #: 199

7

it harder for them to succeed—and we can make the con-
sequences very serious for those who carry them out.

Barbara Arnwine, Executive Director of the Lawyers’ Committee
for Civil Rights Under Law, submitted a statement for the record
detailing the lengthy history of deceptive practices undermining
our democracy’s electoral integrity. Her testimony included specific
examples of deceptive practices and stated that “across the country,
primarily in traditionally disenfranchised communities, voters are
deliberately misinformed about the mechanics of elections.” Ms.
Arnwine expressed her organization’s support for the bill:

“This crucial piece of legislation targets the necessary prob-
lems in the election system by striking a necessary balance be-
tween the rights of all Americans to cast an effective ballot and
our core First Amendment constitutional rights.” Ms. Arnwine
noted that the Lawyers’ Committee has joined with the
NAACP, the National Bar Association, and the People for the
American Way Foundation to form the Election Protection Coa-
lition, which has systematically collected reports of deceptive
practices or voter intimidation in Federal elections.

Patricia M. Roberts, President of Citizens Against Un-American
Voter Intimidation, submitted a statement for the record detailing
the use of deceptive practices and voter intimidation methods in
Federal elections.

C. COMMITTEE CONSIDERATION

The bill was considered by the Committee on the Judiciary on
September 6, 2007. During Committee consideration, Senators Dur-
bin and Coburn requested to be added as cosponsors of the meas-
ure.

Senator Schumer introduced an amendment in the nature of a
substitute. In addition to minor changes intended to clarify the
scope of the bill and the reporting requirements under the bill, the
substitute amendment reflects numerous substantive changes pro-
posed by members of the Committee, the Department of Justice,
and civil rights advocates.

Specifically, whereas the original bill provided civil and criminal
penalties for the communication of false information regarding po-
litical party affiliation, this type of false information is not covered
in the substitute amendment. The substitute amendment also
eliminates the original bill’s private right of action for any ag-
grieved individual to enforce the bill. Instead, the substitute
amendment grants aggrieved individuals the right to seek an order
in Federal court requiring the Attorney General to take corrective
action as provided in the bill, if the Attorney General fails to take
such corrective action within 72 hours (or sooner if necessary to en-
sure timely corrective action before an election) after receiving in-
comaaon that gives reasonable cause to believe a violation has oc-
curred.

Finally, the substitute amendment establishes several safeguards
in the section of the bill requiring the Attorney General to counter-
act deceptive information by distributing corrective information.
The provision of corrective information shall be strictly limited to
the information necessary, shall occur only if the false information
distributed could materially affect any individual’s ability to vote,
Case 1:21-cr-00080-AMD Document 31-3 Filed 03/16/22 Page 8 of 21 PagelD #: 200

8

and shall be limited to information regarding the time and place
of an election or regarding voter eligibility rules.

The substitute amendment, offered by Senator Schumer, was ac-
cepted by a voice vote.

Senator Specter offered an amendment to expand the findings in
the bill to include examples of voter fraud. This amendment was
rejected on a roll call vote. The vote record is as follows:

Tally: 9 Yes, 10 No.

Yeas (9): Specter (R-PA), Hatch (R-UT), Grassley (R-IA), Kyl
(R-AZ), Sessions (R-AL), Graham (R-SC), Cornyn (R-TX),
Brownback (R-KS), Coburn (R—-OK).

Nays (10): Leahy (D-VT), Kennedy (D—MA), Biden (D-DE), Kohl
(D-WI), Feinstein (D-CA), Feingold (D-WI), Schumer (D-NY),
Durbin (D-IL), Cardin (D-MD), Whitehouse (D-RID).

Senator Hatch offered an amendment to provide a definition for
the term “right to vote.” This amendment was rejected on a roll call
vote. The vote record is as follows:

Tally: 9 Yes, 10 No.

Yeas (9): Specter (R-PA), Hatch (R-UT), Grassley (R-IA), Kyl
(R-AZ), Sessions (R-AL), Graham (R-SC), Cornyn (R-TX),
Brownback (R-KS), Coburn (R—OK).

Nays (10): Leahy (D-VT), Kennedy (D-MA), Biden (D-DE), Kohl
(D-W]), Feinstein (D-CA), Feingold (D-WI, Schumer (D-NY),
Durbin (D-IL), Cardin (D-MD), Whitehouse (D-RI).

Senator Hatch offered an amendment to expand the bill to in-
clude the communication of false information with the intent to fa-
cilitate voting by a person who is ineligible to vote. This amend-
ment was rejected on a roll call vote. The vote record is as follows:

Tally: 9 Yes, 10 No.

Yeas (9): Specter (R-PA), Hatch (R-UT), Grassley (R-IA), Kyl
(R-AZ), Sessions (R-AL), Graham (R-SC), Cornyn (R-TX),
Brownback (R-KS), Coburn (R—OK).

Nays (10): Leahy (D-VT), Kennedy (D—MA), Biden (D-DE), Kohl
(D-WI), Feinstein (D-CA), Feingold (D-WI), Schumer (D-NY),
Durbin (D-IL), Cardin (D-MD), Whitehouse (D-RI).

The Committee then voted to report the Deceptive Practices and
Voter Intimidation Prevention Act of 2007, with an amendment in
the nature of a substitute, favorably to the Senate. The Committee
proceeded by voice vote.

III. SECTION-BY-SECTION SUMMARY OF THE BILL, AS REPORTED

Section 1. Short title

Title: “Deceptive Practices and Voter Intimidation Prevention Act
of 2007”.

Section 2. Findings

This section has 14 findings related to the fundamental right to
vote; historical efforts to suppress votes, including deceptive prac-
tices and intimidation; the Federal Government’s interest in pro-
tecting the right to vote; and First Amendment jurisprudence rec-
ognizing that false statements do not necessarily enjoy constitu-
tional protection.
Case 1:21-cr-00080-AMD Document 31-3 Filed 03/16/22 Page 9 of 21 PagelD #: 201

9

Section 3. Prohibition on deceptive practices in federal elections

This section provides a civil penalty for persons who, with the in-
tent to prevent another person from exercising the right to vote or
from voting for the candidate of the voter’s choice, knowingly com-
municate within 60 days of a Federal election information which
they know to be false regarding: (1) the time, place or manner of
the election; (2) the qualifications for or restrictions on voter eligi-
bility for such election, including criminal penalties associated with
voting or a voter’s registration status or eligibility; or (3) the ex-
plicit endorsement by any person or organization of a candidate for
an upcoming election.

The Committee contemplates that a suspect or defendant’s vol-
untary and timely communication of correct information to voters
affected by an initial communication of false information may bea
relevant factor in determining whether the suspect or defendant
acted with the intent to prevent another person from exercising the
right to vote or from voting for the candidate of the voter’s choice.

The Committee contemplates that enforcement by the Depart-
ment of Justice of the sections prohibiting false explicit endorse-
ments be focused on false explicit endorsements purporting to be
from public officials, community leaders, organizations, or persons
well known in the voting precinct in which the deceptive commu-
nications occur.

This section also includes criminal penalties for the provision of
false information as described above.

The deceptive practices provision applies to any general, primary,
run-off, or special election held solely or in part for the purposes
of electing the office of President, Vice President, presidential elec-
tor, Member of the Senate, Member of the House of Representa-
tives, or Delegate or Commissioner from a territory or possession.

This section provides penalties of not more than a $100,000 fine
or five years imprisonment, or both.

This section includes an attempt provision.

This section amends the current voter intimidation statute so
that it clearly applies in any general, primary, run-off, or special
election held solely or in part for the purposes of electing the office
of President, Vice President, presidential elector, Member of the
Senate, Member of the House of Representatives, or Delegate or
Commissioner from a territory or possession.

This section increases the criminal penalty for voter intimidation
from one year to five years. The Committee believes that the exist-
ing penalty for voter intimidation does not adequately reflect the
seriousness of this crime. Noting that voter intimidation and decep-
tive practices are different means of attempting to keep voters from
reaching the polls and casting ballots for the candidate of their
choice, the Committee is of the view that voter intimidation and de-
ceptive election practices are crimes of equal seriousness.

This section also requires the United States Sentencing Commis-
sion to review and, if necessary, amend the Federal Sentencing
Guidelines for persons convicted under this section.

Section 4. Reporting of false election information

Section 4(a) provides that individuals who have received or have
knowledge of deceptive practices prohibited by Section 3 can report
such information to the Attorney General.
Case 1:21-cr-O0080-AMD Document 31-3 Filed 03/16/22 Page 10 of 21 PagelD #: 202

10

Section 4(b) states that if a report provides a reasonable basis to
find a violation of the law, the Attorney General shall pursue “any
appropriate” criminal prosecution or civil action.1 This section pre-
serves the Attorney General’s discretion in assessing whether to
undertake a criminal or civil response to a possible legal violation
as well as what response is appropriate.

Section 4(b) also specifies that the Attorney General shall refer
to the Civil Rights Division only those matters that would other-
wise fall under the Civil Rights Division’s jurisdiction.?2 Thus, the
Committee intends that the Attorney General will assign enforce-
ment of this legislation in a way that does not substantially add
to the workload of the Civil Rights Division and does not limit that
Division’s resources available for enforcing other important voting
rights laws, such as the Voting Rights Act. Rather, the Committee
expects that the legislation would primarily be enforced by other
Divisions of the Department of Justice. The Attorney General’s role
in defining the jurisdiction of the Divisions of the Department of
Justice is preserved under this bill, because a referral to the Civil
Rights Division under this bill is determined by how that Division’s
jurisdiction is otherwise defined, either by a preexisting statute or
by the Attorney General.

This section specifies that no investigation or legal action may
begin until after the election, unless the Attorney General reason-
ably decides that investigation or legal action before an election
will not inhibit voting and is necessary because delaying investiga-
tion until after the election will substantially harm the govern-
ment’s ability to enforce the bill (or, as provided by Section 5, is
necessary to determine the need for or scope of corrective action).
Due to the sensitive nature of any investigation or punitive action
under the criminal or civil provisions of the bill, the Committee in-
tends to clarify that the Attorney General’s actions under the bill
should be guided by a presumption that any investigation or action
prior to an election is discouraged.

1Contrary to the claims made in the Additional Views of Senators Kyl, Graham, Cornyn, and
Brownback, Section 4(b) of the bill requires the Attorney General to pursue only any “appro-
priate” action if a citizen’s report of false election information provides a “reasonable basis” to
find a violation of law. The determination of what, if anything, constitutes an “appropriate
criminal prosecution or civil action” remains within the Attorney General’s discretion. To the
extent that this bill affects prosecutorial choices, the Committee notes that Congress has fre-
quently legislated in ways that affect prosecutorial discretion. See 28 U.S.C. §530(B) (2000) (re-
stricting Federal prosecutors’ discretion by subjecting them to state ethical rules); Pub. L. No.
105-119, §617, 111 Stat. 2440, 2519 (1997) (penalizing certain prosecutorial actions by allowing
courts to award attorneys’ fees to victims of vexatious, frivolous or bad faith prosecutions); 18
U.S.C. § 6002 (2000) (limiting the extent to which congressional testimony can be used by pros-
ecutors against the witness in a criminal case); Pub. L. No. 95-521, 92 Stat. 1824 (1978) (lim-
iting prosecutorial discretion to not bring charges by requiring that the Attorney General con-
duct a preliminary investigation of persons covered by the statute); 28 U.S.C. $591 (Supp. IV,
2001-2005) (requiring the Attorney General to conduct an investigation whenever he has re-
ceived “sufficient information” that a high-ranking US official may have violated certain Federal
criminal laws).

* Senators Kyl, Graham, Cornyn, and Brownback mischaracterize the effect of Section 4(b) in
their Additional Views. Section 4(b) does not require that all matters under this bill be referred
to the Civil Rights Division. On the contrary, the bill limits the referrals to the Civil Rights
Division only to cases that are otherwise under that Division’s jurisdiction, such as cases that
involve discrimination or intimidation on the basis of race. In this way, the bill provides for the
preservation of the existing arrangement within the Department of Justice, under which the
Criminal Division handles most criminal matters related to voting, and seeks to ensure that the
Civil Rights Division will continue to maintain its primary focus on voting matters involving
unlawful discrimination.
Case 1:21-cr-O0080-AMD Document 31-3 Filed 03/16/22 Page 11 of 21 PagelD #: 203

11

Section 5. Corrective action

Whereas earlier sections of the bill provide for civil and criminal
enforcement against violators, Section 5 creates a mechanism for
affirmatively correcting false information in order to assist affected
voters in exercising their right to vote. Section 5(a) requires the
Attorney General to determine whether false information has been
disseminated in violation of Section 3.

Under Section 5(a), if the Attorney General determines that the
information communicated reasonably falls within the parameters
of the prohibited information, the Attorney General shall under-
take all necessary efforts to provide correct information to all vot-
ers who have been affected by the false information.+ The correc-
tive action requirement in this section of the bill poses no threat
to prosecutorial discretion because the required action under this
section does not involve prosecution and is limited to correcting
false information in order to enable the effective exercise of the
fundamental right to vote. The term “all effective measures” is in-
tended to encompass any means of communication effective in
reaching voters who were affected by a prior communication of
false information. In many instances, the Department of Justice
therefore may find it most effective to communicate corrective in-
formation to voters in the same format and to the same extent as
false information was communicated. Moreover, because the goal of
this section is to aid voters in overcoming any effects of false infor-
mation, the Committee intends that the Attorney General should
take corrective action under this section even if the perpetrator or
suspected perpetrator has already made a voluntary effort to pro-
vide correct information following the initial communication of false
information.

Section 5(a) further provides that the Attorney General’s correc-
tive action shall only address matters of time of voting, place of
voting, qualifications for voter eligibility, or restrictions on voter
eligibility. This list of topics for corrective communications is in-
tended to be exhaustive. The Committee recognizes that the bill ex-
cludes certain false information from the corrective action section
that falls within the criminal and civil prohibitions in the bill. The
Committee thereby seeks to minimize both the burden on the De-
partment of Justice and the risk that corrective action may influ-
ence the outcome of an election (beyond the impact of counteracting
the false information that was communicated). The Committee in-
tends that the requirement to distribute corrective information re-
garding “time and place” shall include issues such as absentee vot-
ing, vote-by-mail, and telephonic voting. Information on voter eligi-
bility shall, at a minimum, be interpreted to include information on
the kinds of identification that must be presented in order to vote
or register to vote, information on the use and availability of absen-
tee ballots, and information on whether and to what extent a per-

8It is not unusual for Congress to require the Department of Justice to perform a wide range
of non-prosecutorial functions, including election monitoring to ensure voting rights are pro-
tected, mediation and conflict resolution through the Community Relations Service of the Civil
Rights Division, the collection and analysis of data to track and inform public policy choices,
and compliance with ethics and employment laws, among others.

*Contrary to the misconceptions advanced in the Additional Views, Section 5 does not require
any civil or criminal action but rather directs the Attorney General to take non-prosecutorial
corrective action in a limited set of cases. Providing the public with correct information so that
a fundamental right can be exercised is clearly distinct from the traditional prosecutorial duties
of charging and prosecuting a crime.
Case 1:21-cr-00080-AMD Document 31-3 Filed 03/16/22 Page 12 of 21 PagelD #: 204

12

son’s criminal history or immigration status affects his or her eligi-
bility to vote.

This section specifies, and the Committee intends, that the cor-
rect information distributed by the Attorney General should be lim-
ited to the information necessary to counteract the false informa-
tion that was communicated. The overbroad or unnecessary dis-
tribution of information by the Department of Justice would create
the appearance that the Department is unduly involved in political
matters and presents a risk of inadvertently discouraging voting or
otherwise influencing the outcome of an election. Thus, it is the
Committee’s view that corrective action should be limited to infor-
mation enumerated in this section and be tailored as narrowly as
possible in order to respond to the nature and scope of the original
distribution of false information. In particular, information distrib-
uted by the Attorney General pursuant to this section should not
include the suspected perpetrator’s identity, or any other informa-
tion that might influence the outcome of an election (beyond the
impact of counteracting the false information that was commu-
nicated).

This section includes a materiality requirement so that the Attor-
ney General need only take corrective action if there is reasonable
basis to believe that false information as described in the bill has
been communicated and such communication might materially
hinder any citizen’s meaningful exercise of the right to vote. False
information materially hinders the meaningful exercise of the right
to vote if there is a significant likelihood that such information will
negatively affect voters’ opportunity to vote for the candidates of
their choice or to access to the polls at the required place and time,
cast their votes, and have their votes counted in a Federal election
or primary.

The Attorney General may not undertake any investigation re-
lated to a report of false information before the election to which
the false information pertains, unless the Attorney General reason-
ably believes that such investigation will not inhibit voting and is
necessary to determine the need for or scope of corrective action
(or, as provided by Section 4, is necessary because delaying inves-
tigation until after the election will substantially harm the govern-
ment’s ability to enforce the bill). As in the civil and criminal sec-
tions of the bill, due to the sensitive nature of any such investiga-
tion, the Committee intends to clarify that the Attorney General’s
actions under the bill should be guided by a presumption that any
investigation or action prior to an election is discouraged.

Section 5(b) states that if an individual has provided the Attor-
ney General with information showing reasonable cause to believe
a violation of this law has occurred, and the Attorney General fails
to take corrective action within 72 hours (or sooner if necessary to
ensure timely corrective action before an election), this section pro-
vides the individual with the right to apply to a U.S. District Court
for an order requiring the Attorney General to take timely correc-
tive action. The Committee believes that the time limit in this sec-
tion is appropriate given that the right to vote is fundamental and
that deceptive practices are frequently perpetrated in the days and
hours immediately preceding an election. The Committee notes
that Congress has elsewhere empowered citizens to seek judicial
review of unreasonable executive inaction. For example, Congress
Case 1:21-cr-O0080-AMD Document 31-3 Filed 03/16/22 Page 13 of 21 PagelD #: 205

13

may provide for “citizen suits” against administrative or other offi-
cials who fail to enforce laws, and the Administrative Procedure
Act permits a person aggrieved by agency action to request that a
reviewing court “compel agency action unlawfully withheld or un-
reasonably delayed.” 5

The Attorney General must also provide the relevant committees
of Congress with a report regarding the procedures and standards
intended to be used to provide the corrective action required by this
section by January 1 of each year in which there is a Federal elec-
tion. If the Attorney General makes any changes to these proce-
dures and standards, the Attorney General must promptly notify
the relevant committees of Congress of such changes.

The Attorney General should consult with the Election Assist-
ance Commission, civil rights organizations, voting rights groups,
and State and local election officials in developing these procedures
and standards.

This section requires the Attorney General to work with the Fed-
eral Communications Commission and the Election Assistance
Commission to study the feasibility of using public service an-
nouncements, the emergency alert system or other forms of public
broadcast to provide the corrective information required by this
section. This feasibility report should be completed within 90 days
of enactment.

This section authorizes such sums as may be necessary to carry
out this section.

Section 6. Reports to Congress

This section requires the Attorney General to report to Congress
not later than 90 days after each Federal general election the alle-
gations of false information received pursuant to this section, as
well as detailed information on the types of reports received and
the corrective actions taken, if any. The report must provide infor-
mation regarding any primary or run-off election that has occurred
since the prior report to Congress. The Attorney General may with-
hold from the report any non-public information that the Attorney
General reasonably determines would infringe on the rights of a
criminal suspect or defendant or would compromise an on-going in-
vestigation or prosecution.

Section 7. Severability

This section provides that if any provision of this Act is found
unconstitutional, the remainder of the Act remains in force.

IV. CONGRESSIONAL BUDGET OFFICE Cost ESTIMATE

The Committee sets forth, with respect to the bill, S. 453, the fol-
lowing estimate prepared by the Director of the Congressional
Budget Office under section 402 of the Congressional Budget Act
of 1974:

55 U.S.C.§ 706(1) (2007). The U.S. Supreme Court in Heckler v. Chaney, 470 U.S. 821 (1985),
held that an agency’s decision not to enforce a statute is presumptively unreviewable but stated
that Congress may overcome this presumption if it supplies guidelines that circumscribe an
agency’s discretion in exercising its enforcement powers. Consistent with the principles set out
in Heckler, this bill provides for expedited judicial review to determine whether a Department

of Justice decision not to take corrective action accords with the standards provided in Section
5(b) of the bill.
Case 1:21-cr-O0080-AMD Document 31-3 Filed 03/16/22 Page 14 of 21 PagelD #: 206

14

September 21, 2007.
Hon. PATRICK J. LEAHY,

Chairman, Committee on the Judiciary,
U.S. Senate, Washington, DC.

DEAR MR. CHAIRMAN: The Congressional Budget Office has pre-
pared the enclosed cost estimate for S. 453, the Deceptive Practices
and Voter Intimidation Prevention Act of 2007.

If you wish further details on this estimate, we will be pleased
to provide them. The CBO staff contact is Mark Grabowicz.

Sincerely,
PETER R. ORSZAG.

Enclosure.

S. 453—Deceptive Practice and Voter Intimidation Prevention Act of
2007

CBO estimates that implementing S. 453 would cost less than
$500,000 annually from appropriated funds. Enacting the bill could
affect direct spending and revenues, but CBO estimates that any
such effects would not be significant.

Section 4 of the Unfunded Mandates Reform Act excludes from
the application of that act any legislative provisions that enforce
the Constitutional rights of individuals. CBO has determined that
S. 453 would fall within that exclusion because it would protect
voting rights. Therefore, CBO has not reviewed the bill for man-

ates.

S. 453 would establish a new crime for attempting to deceive vot-
ers in Federal elections and would require the Department of Jus-
tice to prepare reports relating to implementation of the bill’s pro-
visions. Because the legislation would establish a new offense, the
government would be able to pursue cases that it otherwise would
not be able to prosecute. CBO expects that S. 453 would apply to
a relatively small number of offenders, however, so any increase in
costs for law enforcement, court proceedings, or prison operations
would not be significant. We estimate that it would cost less than
$500,000 annually to implement this legislation, including costs to
prepare the reports required by the bill. Any such costs would be
subject to the availability of appropriated funds.

Because those prosecuted and convicted under S. 453 could be
subject to criminal fines, the Federal Government might collect ad-
ditional fines if the legislation is enacted. Criminal fines are re-
corded as revenues, then deposited in the Crime Victims Fund and
later spent. CBO expects that any additional revenues and direct
spending would not be significant because of the small number of
cases likely to be affected.

On April 11, 2007, CBO transmitted a cost estimate for H.R.
1281, the Deceptive Practices and Voter Intimidation Prevention
Act of 2007, as ordered reported by the House Committee on the
Judiciary on March 29, 2007. The bills are similar and the cost es-
timates are identical.

The CBO staff contact for this estimate is Mark Grabowicz. This
estimate was approved by Peter H. Fontaine, Assistant Director for
Budget Analysis.
Case 1:21-cr-O0080-AMD Document 31-3 Filed 03/16/22 Page 15 of 21 PagelD #: 207

15

V. REGULATORY IMPACT EVALUATION

In compliance with rule XXVI of the Standing Rules of the Sen-
ate, the Committee finds that no significant regulatory impact will
result from the enactment of S. 453.

VI. CONCLUSION

Enactment of the Deceptive Practices and Voter Intimidation
Prevention Act of 2007, S. 453, addresses the compelling national
interest in ensuring the integrity of Federal elections by protecting
voting rights of vulnerable members of the electorate, including
citizens residing in minority and low-income communities. The leg-
islation provides for civil and criminal penalties against persons
who attempt to deceive citizens in order to prevent them from exer-
cising the right to vote or from voting for the candidate of their
choice. Deceptive communications found materially to hinder any
citizen’s right to vote require that the Attorney General undertake
effective corrective action to counteract the false information that
was communicated.
Case 1:21-cr-O0080-AMD Document 31-3 Filed 03/16/22 Page 16 of 21 PagelD #: 208

VU. ADDITIONAL VIEWS OF SENATORS KYL, GRAHAM,
CORNYN, AND BROWNBACK

It is our understanding that the Justice Department, though it
has not yet issued an official Views Letter for this bill, will eventu-
ally endorse its overall purpose of proscribing certain election-re-
lated deceptive conduct. Although much of the conduct prohibited
by this bill already arguably is proscribed by current statutes such
as 18 U.S.C. § 241, this bill will provide clear and specific authority
to prosecute efforts to deceive voters about the time and place and
qualifications for voting. We, too, support the overall purpose of
this bill.

We also expect, however, that the Justice Department will vigor-
ously object to several provisions of this bill, and we do not need
to read the Department’s forthcoming Views Letter to know why.
Several of the bill’s restrictions on prosecutorial or other executive
discretion are utterly unprecedented and would be a clear violation
of the separation of powers. Congress simply cannot command the
executive (or authorize the courts to command the executive) to
carry out functions that are plainly within the realm of discre-
tionary executive decisionmaking authority. The tasks that this bill
commands the Justice Department to carry out are not ministerial
in nature. These tasks are in the heartland of those decisions that
are made on the basis of factors that only the executive can evalu-
ate, such as the availability of enforcement resources and the
prioritization of the use of those resources. Congress has never be-
fore ordered the executive branch bring an enforcement action in
every single case that falls within a statute’s proscriptions, or au-
thorized the federal courts to issue such orders. It should not begin
doing so in this bill.

The offending provisions of this bill are sections 4 and 5, which
would require the Attorney General to refer cases for prosecution
and take “corrective action” to rebut false voting information that
has been disseminated to voters. Section 4(b) requires the Attorney
General to refer a case to the Civil Rights Division for prosecution
if he finds that there is a “reasonable basis” for concluding that the
law has been broken. Section 5(b) authorizes private litigants to
bring an action in federal court seeking an order that the Attorney
General take “corrective action” rebutting false election information
if the Attorney General does not act on a complaint within 72
hours after it is submitted to the Justice Department.

Both of these “enforcement” provisions are severe intrusions on
prosecutorial discretion. The first strips from the Attorney General
the authority to decide for himself whether a case is worth pur-
suing—if he concludes that there is a “reasonable basis” for a com-
plaint, he must refer the case to the Civil Rights Division. The sec-
ond provision effectively delegates to a federal district judge the de-

(16)
Case 1:21-cr-O0080-AMD Document 31-3 Filed 03/16/22 Page 17 of 21 PagelD #: 209

17

cision whether a citizen complaint about allegedly false voting in-
formation merits “corrective action” by the Attorney General.

Typically when committee reports such as this one are first cir-
culated as a draft in the committee, Senators are given a few extra
days to submit additional or minority views. After those additional
views are submitted, proponents of the bill usually will amend the
committee report—often through the addition of footnotes—to re-
spond to those additional views. In this case, we are curious to see
whether the proponents of this bill will be able to identify any
precedent whatsoever for the intrusions on executive discretion in
sections 4(b) and 5(b) of this bill. We doubt that the final com-
mittee report will be able to identify even one statute in which Con-
gress has ordered the Justice Department to bring an enforcement
action in every single case that falls within the statute’s proscrip-
tions, or in which it has delegated enforcement decisionmaking au-
thority to the federal courts.

The executive branch needs to be allowed to decide whether a
particular infraction of a statute merits enforcement action. Con-
sider the practical implications of restricting such discretion in the
context of this bill. The Civil Rights Division has a limited number
of lawyers, and those lawyers are charged with enforcing a large
number of other statutes. If a clear but minor violation of this bill’s
proscriptions has occurred—for example, incorrect information
about poll-opening times has been issued, but did not reach many
voters—should a Department attorney necessarily abandon every
other case that he is assigned to in order to prosecute that inci-
dent? What if the facts of the case are not so clear, and the attor-
ney is not certain that he will obtain a conviction? Should the at-
torney nevertheless be forced to prosecute the case? And should a
judge be allowed to decide on the Justice Department’s behalf
whether “corrective action” should be taken?

Advocates of these provisions might also consider what precedent
they are setting in the event that sections 4 and 5 of this bill are
enacted into law and are upheld by the courts. How do they feel
about a bill that would require the Justice Department to prosecute
every single child-pornography case that is brought to its attention?
Or every illegal-entry immigration case? What about cases of pro-
viding material support to terrorism?

The impossibility of extending such mandates across the criminal
statutes should be apparent to everyone. Congress does not decide
how enforcement resources are used. It is the President, his ap-
pointees, and career executive employees who make those deci-
sions.

Several other provisions of this bill are problematic as well. The
requirement that the Justice Department prosecute false candidate
endorsements is destined to embroil the Department in political

controversies and to subject it to accusations of political favoritism.
Campaign speech and campaign tactics have traditionally remained
outside the purview of the criminal laws. Nor would a campaign to
punish “false” statements about candidates be a limited venture:
we doubt that there are very many members of the Senate or
House who do not believe that during some election someone said
something about them that is false. We think that it is unlikely
Case 1:21-cr-00080-AMD Document 31-3 Filed 03/16/22 Page 18 of 21 PagelD #: 210

18

that the Department will be enthusiastic about this committee’s in-
vitation to jump down this rabbit hole.

We are also curious to see what the lawyers who will be charged
with enforcing this bill think about some of the language that it
employs. It is unclear to us, for example, how those lawyers are
supposed to prove that a defendant intended to prevent a voter
“from voting for the candidate of such person’s choice.” It is one
thing to prove what a defendant did and intended. It is another to
prove what the victim of the offense (who likely will exist only as
a hypothetical voter) would have intended to do absent the deceiv-
ing information. How is a federal prosecutor (or judge or jury) sup-
posed to know who is the real candidate of that voter’s choice? Does
the jury employ a Marxian analysis and subtract the voter’s false
consciousness to determine who the voter really wanted to vote for?
How can a court ever say that a voter’s choice was anyone other
than the candidate for whom the voter actually voted? None of us
would want to be the first lawyer to prosecute one of these cases,
and we hope that the Justice Department will suggest a more ele-
gant way of defining this offense.

Again, we note that we support the overall purpose of this bill
to expressly prohibit particular deceptive election-related practices.
However, some of the parts of this bill clearly require adjustment,
and we think that it is inevitable that the bill would benefit from
the views of the Justice Department attorneys who practice in this
field.

JON KYL.
LINDSEY GRAHAM.
JOHN CORNYN.
SAM BROWNBACK.
Case 1:21-cr-O0080-AMD Document 31-3 Filed 03/16/22 Page 19 of 21 PagelD #: 211

19

VIII. CHANGES TO EXISTING LAW MADE BY THE BILL, AS REPORTED

In compliance with paragraph 12 of rule XXVI of the Standing
Rules of the Senate, changes in existing law made by S. 453, as re-
ported, are shown as follows (existing law proposed to be omitted
is enclosed in black brackets, new matter is printed in italic, and
existing law in which no change is proposed is shown in roman):

TITLE 18, UNITED STATES CODE

* * * * * * *
CHAPTER 29—ELECTIONS AND POLITICAL ACTIVITIES
* * * * * * *

§ 594. Intimidation of Voters

[Whoever] (a) INTIMIDATION.—Whoever intimidates, threatens,
coerces, or attempts to intimidate, threaten, or coerce, any other
person by any means, including by means of written, electronic or
telephonic communications, for the purpose of interfering with the
right of such other person to vote or to vote as he may choose, or
of causing such other person to vote for, or not to vote for, any can-
didate for the office of President, Vice President, Presidential elec-
tor, Member of the Senate, Member of the House of Representa-
tives, Delegate from the District of Columbia, or Resident Commis-
sioner, [at any election held solely or in part for the purpose of
electing such candidate] at any general, primary, run-off or special
election held solely or in part for the purpose of electing such a can-
didate, shall be fined under this title or imprisoned not more than
Lone year] 5 years, or both.

(b) DECEPTIVE ACTS.—

(1) PROHIBITION.—

(A) IN GENERAL.—It shall be unlawful for any person,
within 60 days before an election described in subpara-
graph (B), to communicate or cause to be communicated in-
formation described in subparagraph (C), or produce infor-
mation described in subparagraph (C) with the intent that
such information be communicated, if such person—

“() knows such information to be false; and

“(it) has the intent to prevent another person from ex-
ercising the right to vote or from voting for the can-
didate of such other person’s choice in an election de-
scribed in subparagraph (B).

(B) ELECTION DESCRIBED.—An election described in this
subparagraph is any general, primary, run-off, or special
election held solely or in part for the purpose of electing a
candidate for the office of President, Vice President, presi-
dential elector, Member of the Senate, Member of the House
of Representatives, or Delegate or Commissioner from a ter-
ritory or possession.

(C) INFORMATION DESCRIBED.—Information is described
in this subparagraph if such information is regarding—

(i) the time, place, or manner of any election de-
scribed in subparagraph (B);
Case 1:21-cr-O0080-AMD Document 31-3 Filed 03/16/22 Page 20 of 21 PagelD #: 212

20

(ti) the qualifications for or restrictions on voter eligi-
bility for any such election, including—
_ (D any criminal penalties associated with voting
in any such election; or
(II) information regarding a voter’s registration
status or eligibility; or
(uit) the explicit endorsement by any person or orga-
nization for the upcoming election of a candidate to
any office described in subparagraph (B).

(2) PENALTY.—Any person who violates paragraph (1) shall
be fined not more than $100,000, imprisoned not more than 5
years, or both.

(c) ATTEMPT.—

(1) ATTEMPT.—Any person who attempts to commit any of:
fense described in subsection (a) or (b) shall be subject to the
same penalties as those prescribed for the offense that the per-
son attempted to commit.

TITLE 42, UNITED STATES CODE

* * ok * ok * *

CHAPTER 20—ELECTIVE FRANCHISE

* * * * * * *
§ 1971. Voting Rights
(a) * * *
* * * * * * *

(b) INTIMIDATION, THREATS, OR COERCION.—

[No person] (1) No person, whether acting under color of law
or otherwise, shall intimidate, threaten, coerce, or attempt to
intimidate, threaten, or coerce any other person for the pur-
pose of interfering with the right of such other person to vote
or to vote as he may choose, or of causing such other person
to vote for, or not to vote for, any candidate for the office of
President, Vice President, presidential elector, Member of the
Senate, or Member of the House of Representatives, Delegates
or Commissioners from the Territories or possessions, at any
general, special, or primary election held solely or in part for
the purpose of selecting or electing any such candidate.

(2)(A) No person, whether acting under color of law or other-
wise, shall, within 60 days before an election described in sub-
paragraph (B), communicate or cause to be communicated in-
formation described in subparagraph (C), or produce informa-
tion described in subparagraph (C) with the intent that such in-
formation be communicated, if such person—

(@) knows such information to be false; and

(ii) has the intent to prevent another person from exer-
cising the right to vote or from voting for the candidate of
such other person’s choice in an election described in sub-
paragraph (B).

(B) An election described in this subparagraph is any general,
primary, run-off, or special election held solely or in part for the
Case 1:21-cr-O0080-AMD Document 31-3 Filed 03/16/22 Page 21 of 21 PagelD #: 213

21

purpose of electing a candidate for the office of President, Vice
President, presidential elector, Member of the Senate, Member
of the House of Representatives, or Delegate or Commissioner
from a territory or possession.
(C) Information is described in this subparagraph if such in-
formation is regarding—
(i) the time, place, or manner of any election described in
subparagraph (B);
(ui) the qualifications for or restrictions on voter eligi-
bility for any such election, including—
(D any criminal penalties associated with voting in
any such election; or
(ID information regarding a voter’s registration sta-
tus or eligibility; or
(iit) the explicit endorsement by any person or organiza-
tion for the upcoming election of a candidate to any office
described in subparagraph (B).

O
